                 Case 1-17-42633-nhl              Doc 17        Filed 09/01/17         Entered 09/02/17 00:21:20

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 17-42633-nhl
Joseph Indellicati                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: admin                        Page 1 of 2                          Date Rcvd: Aug 30, 2017
                                      Form ID: 318DI7                    Total Noticed: 20


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 01, 2017.
db              Joseph Indellicati,    206 Ramona Ave,    Staten Island, NY 10312-2717
smg             NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3719
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9028896         Amex Dsnb,   PO Box 8218,    Mason, OH 45040-8218
9028899         Hsbc Bank Nevada N.A. Sears/O,    LVNV Funding,    PO Box 10497,   Greenville, SC 29603-0497
9028903         Pristine Place HOA Inc,    c/o Shumaker Loop & Kendrick LLPO,    PO Box 172609,
                 Tampa, FL 33672-0609
9028904        +Specialized Loan Servi,    8742 Lucent Blvd,    Highlands Ranch, CO 80129-2386
9050498        +Specialized Loan Servicing LLC, as servicing,     c/o Frenkel Lambert et al.,   53 Gibson Street,
                 Bay Shore, NY 11706-8369
9028905         Specialized Loan Servicing/Sls,    Attn: Bankruptcy,    PO Box 636005,
                 Littleton, CO 80163-6005
9028906         State of New York,   110 State St,     Albany, NY 12207-2027

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BRJMCCORD.COM Aug 30 2017 18:38:00      Richard J. McCord,    Certilman Balin Adler & Hyman,
                 90 Merrick Avenue,    East Meadow, NY 11554-1597
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Aug 30 2017 18:48:43
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Aug 30 2017 18:47:59
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,     New York, NY 10014-9449
9028894         EDI: GMACFS.COM Aug 30 2017 18:38:00      Ally Financial,    200 Renaissance Ctr,
                 Detroit, MI 48243-1300
9028895         EDI: AMEREXPR.COM Aug 30 2017 18:38:00      Amex,    Correspondence,    PO Box 981540,
                 El Paso, TX 79998-1540
9028898         EDI: CHASE.COM Aug 30 2017 18:38:00      Chase Card,    Attn: Correspondence Dept,     PO Box 15298,
                 Wilmington, DE 19850-5298
9028897         EDI: CHASE.COM Aug 30 2017 18:38:00      Chase Card,    PO Box 15298,
                 Wilmington, DE 19850-5298
9028900         EDI: RESURGENT.COM Aug 30 2017 18:38:00      Lvnv Funding LLC,    PO Box 10497,
                 Greenville, SC 29603-0497
9028902         E-mail/Text: camanagement@mtb.com Aug 30 2017 18:47:57       M & T Bank,    Attn: Bankruptcy,
                 1100 Wehrle Dr Fl 2,    Williamsville, NY 14221-7748
9028901         E-mail/Text: camanagement@mtb.com Aug 30 2017 18:47:57       M & T Bank,    PO Box 7678,
                 Buffalo, NY 14240
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty*             +Richard J. McCord,   Certilman Balin Adler & Hyman,   90 Merrick Avenue,
                   East Meadow, NY 11554-1597
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 01, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 30, 2017 at the address(es) listed below:
              Elizabeth L Doyaga   on behalf of Creditor   Specialized Loan Servicing LLC, as servicing agent
               for U.S. Bank National Association, as Trustee, successor in interest to Bank of America,
               National Association, as Trustee, successor by merger to La edoyaga@flwlaw.com,
               jspiegelman@flwlaw.com;plamberti@flwlaw.com
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                              Form ID: 318DI7             Total Noticed: 20


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Kevin B Zazzera   on behalf of Debtor Joseph Indellicati kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
              Richard J. McCord   on behalf of Trustee Richard J. McCord rmccord@cbah.com,
               afollett@certilmanbalin.com;cfollett@certilmanbalin.com;N190@ecfcbis.com;mmccord@certilmanbalin.c
               om
              Richard J. McCord   rmccord@cbah.com,
               afollett@certilmanbalin.com;cfollett@certilmanbalin.com;N190@ecfcbis.com;mmccord@certilmanbalin.c
               om
                                                                                            TOTAL: 5
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Information to identify the case:
Debtor 1              Joseph Indellicati                                       Social Security number or ITIN   xxx−xx−9990
                      First Name   Middle Name   Last Name                     EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                       Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                               EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York
271−C Cadman Plaza East, Suite 1595
Brooklyn, NY 11201−1800
Case number:           1−17−42633−nhl                                          Chapter:    7




Order of Discharge of Debtor(s)                                                                                  Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Joseph Indellicati




                                                                      BY THE COURT:

                                                                      s/ Nancy Hershey Lord
           Dated: August 30, 2017                                     United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named in the order. This order does not close or
dismiss the case, and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

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